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                                                                        1 Mark S. Horoupian (CA Bar No. 175373)
                                                                           mhoroupian@sulmeyerlaw.com
                                                                        2 Claire K. Wu (CA Bar No. 295966)
                                                                           ckwu@sulmeyerlaw.com
                                                                        3 SulmeyerKupetz
                                                                          A Professional Corporation
                                                                        4 333 South Grand Avenue, Suite 3400
                                                                          Los Angeles, California 90071
                                                                        5 Telephone: 213.626.2311
                                                                          Facsimile: 213.629.4520
                                                                        6
                                                                          Attorneys for Official Committee of
                                                                        7 Unsecured Creditors of Meade Instruments Corp.

                                                                        8

                                                                        9                              UNITED STATES BANKRUPTCY COURT
                                                                       10                   CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
  A Professional Corporation




                                                                       11 In re                                            Case No. 8:19-bk-14714-CB
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12        MEADE INSTRUMENTS CORP., a               (Jointly Administered with
                                                                                  Delaware corporation,                    Case No. 8:19-bk-14711-CB)
                                                                       13
                                                                                                                           Chapter 11
                                                                       14        SUNNY OPTICS, INC., a Delaware
                                                                                  corporation,                             FIRST INTERIM APPLICATION OF
SulmeyerKupetz,




                                                                       15                                                  SULMEYERKUPETZ, A PROFESSIONAL
                                                                                                                           CORPORATION, AS COUNSEL TO THE
                                                                       16        All Debtors.                             OFFICIAL COMMITTEE OF
                                                                                                                           UNSECURED CREDITORS, FOR
                                                                       17                    Debtors and Debtors-in-       ALLOWANCE AND PAYMENT OF FEES
                                                                                             Possession.                   AND EXPENSES; DECLARATION OF
                                                                       18                                                  MARK S. HOROUPIAN IN SUPPORT
                                                                                                                           THEREOF
                                                                       19
                                                                                                                           [Period Covered: January 8, 2020, through
                                                                       20                                                  and including March 31, 2020]

                                                                       21                                                  Date: April 29, 2020
                                                                                                                           Time: 10:00 a.m.
                                                                       22                                                  Place: Courtroom 5D
                                                                                                                                  411 West Fourth Street
                                                                       23                                                         Santa Ana, CA 92701

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                                                                        1 TO THE HONORABLE CATHERINE E. BAUER, UNITED STATES BANKRUPTCY

                                                                        2 JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, AND PARTIES ENTITLED

                                                                        3 TO NOTICE:

                                                                        4 [The following information is supplied in conformity with Form No. 2016-1.2 of the United States

                                                                        5 Bankruptcy Court for the Central District of California]:

                                                                        6           1.      Name of Applicant: SulmeyerKupetz, A Professional Corporation ("Applicant" or

                                                                        7                   "Sulmeyer").

                                                                        8           2.      Type of Services Rendered: General bankruptcy counsel for the Official

                                                                        9                   Committee of Unsecured Creditors (the “Committee”) of Meade Instruments Corp.
                                                                       10                   ("Meade" or the “Debtor”).
  A Professional Corporation




                                                                       11           3.      Date of Filing of Petition under Chapter 11 of the Bankruptcy Code: December 4,
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12                   2019.

                                                                       13           4.      Date of Entry of Order Approving Applicant's Employment: February 25, 2020

                                                                       14                   [Dkt. No. 130], retroactive to January 8, 2020.
SulmeyerKupetz,




                                                                       15           5.      Date of Filing of Last Fee and/or Expense Application: Not Applicable.

                                                                       16           6.      Total Fees Allowed for Paid to Applicant to Date (including Retainers and Prior

                                                                       17                   Approved Fee Applications): Not Applicable.

                                                                       18                   a.      Retainer received: None.

                                                                       19                   b.      Retainer remaining as of the date of this application: Not Applicable.

                                                                       20                   c.      Total amount requested in all prior applications: Not Applicable.

                                                                       21                   d.      Total amount actually paid pursuant to prior approved applications: Not

                                                                       22                           Applicable.

                                                                       23                   e.      Total amount currently due but unpaid pursuant to prior approved

                                                                       24                           applications: $0.

                                                                       25                   f.      Total amount allowed but reserved pending final fee application: Not

                                                                       26                           Applicable.

                                                                       27                   Summary of Requested Fees: See Exhibits 1 through 5 attached hereto.

                                                                       28


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                                                                        1              7.       The Hourly Rates Above are the Same Rates Charged by the Above Professionals

                                                                        2                       for Non-Bankruptcy Services Except as Follows: Applicant agreed to reduce

                                                                        3                       attorney rates by 20% as an accommodation to the Committee.

                                                                        4              8.       Bonus Requested (final fee applications only): None.

                                                                        5              9.       TOTAL FEES REQUESTED IN THIS APPLICATION: $69,495.20 (after

                                                                        6                       applying discount of 20% or $17,373.80). 1

                                                                        7              10.      Total Expenses paid to Applicant to Date (including Retainers and Prior Approved

                                                                        8                       Expense Applications): Not Applicable.

                                                                        9              11.      Summary of Requested Expense Reimbursement: See Exhibit 5 attached hereto.
                                                                       10              12.      TOTAL EXPENSE REIMBURSEMENT REQUESTED IN THIS
  A Professional Corporation




                                                                       11                       APPLICATION: $81.40.
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12              13.      Applicant Submits the Following in Support of the Application Herein Pursuant to
                                                                       13                       Local Bankruptcy Rule 2016-1 (specify): See Narrative Statement of Services
                                                                       14                       Rendered, infra.
SulmeyerKupetz,




                                                                       15              14.      Total Number of Attached Pages: 43.
                                                                       16              15.      Applicant declares under penalty of perjury under the laws of the United States of
                                                                       17                       America that the foregoing Application and all attached supporting documentation
                                                                       18                       are true and correct and accurately reflect services rendered and expenses incurred.
                                                                       19 DATED: April 7, 2020                             Respectfully submitted,

                                                                       20                                                  SulmeyerKupetz
                                                                                                                           A Professional Corporation
                                                                       21

                                                                       22

                                                                       23                                                  By: /s/Mark S. Horoupian
                                                                                                                               Mark S. Horoupian
                                                                       24                                                      Claire K. Wu
                                                                                                                               Attorneys for Official Committee of Unsecured
                                                                       25                                                      Creditors
                                                                       26

                                                                       27
                                                                            1
                                                                       28       Total fees incurred were $86,869.00.



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                                                                        1                     FIRST INTERIM FEE APPLICATION OF SULMEYERKUPETZ

                                                                        2                                     ATTORNEYS FOR THE COMMITTEE

                                                                        3                                                             I.

                                                                        4                                          INTRODUCTION/OVERVIEW

                                                                        5              On December 4, 2019 (the “Petition Date”), the above-captioned debtors ("Debtors")

                                                                        6 commenced these jointly administered bankruptcy cases by the filing of voluntary Chapter 11

                                                                        7 petitions. On December 31, 2019, the Office of the United States Trustee appointed five creditors

                                                                        8 to a creditors' committee in the bankruptcy case of Meade Instrument Corp. (“Meade”). 2 The

                                                                        9 Committee voted to retain SulmeyerKupetz, a Professional Corporation, as general bankruptcy
                                                                       10 counsel to the Committee. Sulmeyer has continued to act as general bankruptcy counsel from the
  A Professional Corporation




                                                                       11 date of its retention through the present.
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                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12              This is Sulmeyer's first application for allowance and payment of interim fees. By this

                                                                       13 Application, Sulmeyer seeks interim allowance of its fees and expenses incurred from January 8,

                                                                       14 2020 through March 31, 2020 (the "First Interim Period"). Pursuant to Local Bankr. R. 2016-
SulmeyerKupetz,




                                                                       15 1(a)(1)(A)(iv), Sulmeyer hereby incorporates by this reference the narrative history provided in

                                                                       16 the fee application by the Debtors' general bankruptcy counsel, Goe Forsythe & Hodges, LLP,

                                                                       17 which application will be heard contemporaneously with Sulmeyer's Application.

                                                                       18                                                             II.

                                                                       19                                        PRESENT STATUS OF THE CASE

                                                                       20              During the First Interim Period, the Debtor and the Committee have been working closely

                                                                       21 together to attempt to find an acquirer for the Debtor’s operations. In furtherance of that objective,

                                                                       22 the Debtor and the Committee jointly retained an investment banker, and have been working with

                                                                       23 that banker to prepare the Debtor for going to market. The Debtor and the Committee have also

                                                                       24 been working together to address operational issues, cost-cutting, matters relating to the Debtor’s

                                                                       25 supply chain, and litigation matters. According to recent information received from the Debtor,

                                                                       26 the Committee understands that the total bank balances of the Debtors is $1,670,988.39.

                                                                       27
                                                                            2
                                                                       28       Cornerstone Research, Inc. has since resigned from the Committee.



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                                                                        1                                                   III.

                                                                        2          TIME EXPENDED, EXPENSES INCURRED, AND AMOUNTS REQUESTED

                                                                        3           The narrative portion of this Application is meant primarily as a limited summary of the

                                                                        4 major areas of work performed by Applicant. The attached exhibits set forth in greater detail the

                                                                        5 actions taken by Applicant in this case.

                                                                        6           The services for which Applicant requests compensation were performed for, or on behalf

                                                                        7 of the Committee, and not on behalf of any creditor, or for the benefit of any other person. At all

                                                                        8 times covered by this Application, Applicant diligently sought to fulfill its duty as counsel for

                                                                        9 Committee.
                                                                       10           Applicant has no agreement with any other person, firm, or entity for the division or
  A Professional Corporation




                                                                       11 sharing of any fees received in this case, in violation of the Bankruptcy Code, the Bankruptcy
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                                                                       12 Rules, or any other provision of state or federal law.

                                                                       13           The services rendered by Applicant were necessary, proper, and beneficial to not only the

                                                                       14 Committee, but to the entire bankruptcy estate (the "Estate"). Services performed by Applicant
SulmeyerKupetz,




                                                                       15 throughout this case were performed in a professional, skilled, and expeditious manner requiring

                                                                       16 substantially less time than would have been required of counsel with less expertise. Applicant

                                                                       17 has made every attempt to reduce attorney hours expended and, where appropriate, matters not

                                                                       18 demanding the services of senior attorneys were assigned to junior associates, or paralegals.

                                                                       19                                                   IV.

                                                                       20    NARRATIVE STATEMENT OF SERVICES RENDERED BY OUST TIME CATEGORY

                                                                       21           Pursuant to Federal Rule of Bankruptcy Procedure 2016(a) and Local Bankruptcy Rule

                                                                       22 2016-1(a), Applicant hereby submits this narrative of services rendered and expenses incurred by

                                                                       23 Applicant on behalf of the Committee.

                                                                       24 A.        Case Administration

                                                                       25           During the First Interim Period, Sulmeyer spent 31.70 hours performing services in

                                                                       26 connection with Case Administration. Sulmeyer's fees charged for these services are $18,047.50.

                                                                       27 Sulmeyer's blended hourly rate for these services is $569.32 (before the 20% discount on rates).

                                                                       28


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                                                                        1              Under this category of services, Sulmeyer assisted the Committee in governance issues,

                                                                        2 including preparation of by-laws, and establishment of other protocols as to how the Committee

                                                                        3 would govern itself. Additionally, Sulmeyer conducted multiple conference calls with the

                                                                        4 Committee, as well as conference calls with the Committee, Debtor, and the Estate’s investment

                                                                        5 banker regarding the current status of the case and impending issues. Sulmeyer has reviewed

                                                                        6 monthly operating reports filed by the Debtors, reviewed the Debtors’ status reports, appeared at

                                                                        7 case status conferences, and reviewed and responded to other motions filed by the Debtors

                                                                        8 affecting case administration (i.e., those motions that do not fit within any other U.S. Trustee

                                                                        9 billing category).
                                                                       10 B.           Business Operations
  A Professional Corporation




                                                                       11              During the First Interim Period, Sulmeyer spent 8.80 hours performing services in
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                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 connection with Business Operations. Sulmeyer's fees charged for these services are $5,020.00.

                                                                       13 Sulmeyer's blended hourly rate for these services is $570.45 (before the 20% discount on rates).

                                                                       14              Under this category, Sulmeyer worked extensively with the Debtor and counsel for the
SulmeyerKupetz,




                                                                       15 Debtor’s largest creditor, Optronic Technologies, Inc. dba Orion (“Orion”), to develop a supply

                                                                       16 agreement whereby Ningbo Sunny Electronic Ltd. (“Ningbo Sunny”) (the Debtor’s parent and

                                                                       17 largest supplier of product) agreed to continue to ship product to the Debtor, provided that Orion

                                                                       18 would not assert its right to levy against the accounts receivable generated by such sales (Orion

                                                                       19 has a judgment lien against Ningbo Sunny). 3 That trade agreement was agreed to after the First

                                                                       20 Interim Period.

                                                                       21 C.           Claims Administration and Objections

                                                                       22              During the First Interim Period, Sulmeyer spent 54.40 hours performing services in

                                                                       23 connection with Claims Administration and Objections. Sulmeyer's fees charged for these

                                                                       24 services are $30,054.00. Sulmeyer's blended hourly rate for these services is $552.46 (before

                                                                       25 application of the 20% discount on rates). The majority of the work performed under this

                                                                       26
                                                                            3
                                                                                Orion sued Ningbo Sunny, Sunny Optics, Inc. ("Sunny Optics") and the Debtor in the Northern District of California
                                                                       27 (the “Orion Lawsuit”), for among other things, unfair business practices and anti-trust violations. Prior to the Petition
                                                                            Date, a jury awarded Orion approximately $50 million. A judgment was entered against Ningbo Sunny, but because
                                                                       28 of the automatic stay, no judgment has been entered against the Debtor and Sunny Optics to date.


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                                                                        1 category of services was performed to address issues regarding the significant alleged secured

                                                                        2 claim by litigation counsel for the Debtor, Sunny Optics, and their parent, Ningbo Sunny, Shepard

                                                                        3 Mullin Richter & Hampton (“SMRH”). In particular, the Debtor transferred a security interest in

                                                                        4 all of its assets to SMRH within 90 days of the Petition Date. The Debtor has asked the

                                                                        5 Committee to be primarily responsible for any challenge to SMRH’s lien. The Committee is

                                                                        6 investigating whether the lien is avoidable under applicable law. Further, the Committee is

                                                                        7 investigating whether payments made by the Debtor to SMRH during the course of its

                                                                        8 representation, believed to be several million dollars, may be avoidable. In order to perform this

                                                                        9 investigation, the Committee requires access to certain documents from SMRH and/or the Debtor.
                                                                       10 The Committee has met and conferred with both SMRH and the Debtor regarding this subject, and
  A Professional Corporation




                                                                       11 has prepared and filed (in the case of the Debtor) or will shortly file (in the case of SMRH),
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                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 motions authorizing the 2004 examination of both. Sulmeyer has also conducted legal research

                                                                       13 regarding potential claims against SMRH. Given the size of SMRH’s secured claim, which is the

                                                                       14 only secured claim that exists against the Debtor’s assets, significant attention to these matters is
SulmeyerKupetz,




                                                                       15 warranted.

                                                                       16 D.        Relief From Stay

                                                                       17           During the First Interim Period, Sulmeyer spent 12.40 hours performing services in

                                                                       18 connection with Relief from Stay Proceedings. Sulmeyer's fees charged for these services are

                                                                       19 $6,895.00. Sulmeyer's blended hourly rate for these services is $556.04 (before the 20% discount

                                                                       20 on rates).

                                                                       21           Under this category, Sulmeyer participated in negotiations with the Debtor and Orion

                                                                       22 regarding Orion’s request for relief from the automatic stay so that it could obtain the entry of its

                                                                       23 judgment from the Orion Lawsuit. Ultimately, an agreement could not be reached, and Orion

                                                                       24 recently filed a motion requesting such relief. Sulmeyer prepared and filed a brief statement of the

                                                                       25 Committee in response to the Motion.

                                                                       26 E.        Fee/Employment Applications

                                                                       27           During the First Interim Period, Sulmeyer spent 15.70 hours performing services in

                                                                       28 connection with Fee/Employment Applications. Sulmeyer's fees charged for these services are


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                                                                        1 $8,952.50. Sulmeyer's blended hourly rate for these services is $570.22 (before the 20% discount

                                                                        2 on rates).

                                                                        3           Under this category, Sulmeyer prepared the Committee’s application to employ Sulmeyer

                                                                        4 as general bankruptcy counsel, interviewed and negotiated the terms of the retention of the

                                                                        5 Estate’s joint investment banker, reviewed and signed off on the application to employ the

                                                                        6 investment banker, appeared at a hearing on the motion to approve the investment banker, and

                                                                        7 reviewed and commented on the Debtor’s motion to retain special intellectual property counsel.

                                                                        8 F.        Plan and Disclosure Statement

                                                                        9           During the First Interim Period, Sulmeyer spent 4.00 hours performing services relating to
                                                                       10 plan and disclosure statement issues. Sulmeyer's fees charged for these services are $1,712.50.
  A Professional Corporation




                                                                       11 Sulmeyer's blended hourly rate for these services is $428.12 (before the 20% discount on rates).
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                                                                       12           Under this category of services, Sulmeyer has explored potential plan options that the
                                                                       13 Committee may undertake, and reviewed the Debtor’s motion to extend exclusivity. With respect

                                                                       14 to the latter, Sulmeyer negotiated a compromise whereby the extension of exclusivity does not
SulmeyerKupetz,




                                                                       15 apply to the Committee. Sulmeyer appeared at the hearing on the Debtor’s motion to extend

                                                                       16 exclusivity which was approved by the Court.

                                                                       17 G.        Asset Disposition (TD REO)

                                                                       18           During the First Interim Period, Sulmeyer spent 18.70 hours performing services in

                                                                       19 connection with Asset Disposition. Sulmeyer's fees charged for these services are $11,125.00.

                                                                       20 Sulmeyer's blended hourly rate for these services is $594.91 (before the 20% discount on rates).

                                                                       21           Under this category of services, Sulmeyer has worked with the Debtor, the Estate’s

                                                                       22 investment banker, the Debtor, and the Committee, to develop a plan regarding the marketing of

                                                                       23 the Debtor’s assets for sale. Sulmeyer’s work has included participating and hosting multiple

                                                                       24 conference calls with the Committee, Debtor, and the Estate's investment banker to discuss

                                                                       25 purchase price estimates, financing information backing such estimates, protocols, timing and

                                                                       26 processes for taking the Debtor’s assets to market. Sulmeyer prepared the form of non-disclosure

                                                                       27 agreement to be circulated to interested parties. Sulmeyer has also worked directly with the

                                                                       28


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                                                                        1 investment bankers to gather certain financial data points for the due diligence data room, and has

                                                                        2 responded to calls from potentially interested buyers.

                                                                        3 H.        Executory Contract Leases

                                                                        4           During the First Interim Period, Sulmeyer spent 2.00 hours performing services in

                                                                        5 connection with Executory Contracts and Leases. Sulmeyer's fees charged for these services are

                                                                        6 $1,250.00. Sulmeyer's blended hourly rate for these services is $625.00 (before the 20% discount

                                                                        7 on rates).

                                                                        8           Under this category of services, Sulmeyer reviewed the Debtor's motion to extend time to

                                                                        9 assume or reject non-residential leases, and filed a response thereto. Sulmeyer also appeared at
                                                                       10 the hearing on the motion, which was granted. Additionally, Sulmeyer reviewed the situation
  A Professional Corporation




                                                                       11 regarding the Debtor's wholly-owned Mexican subsidiary's lease, and provided input to the
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 Committee regarding the same.

                                                                       13 I.        Meeting of Creditors

                                                                       14           During the First Interim Period, Sulmeyer spent 6.10 hours performing services in
SulmeyerKupetz,




                                                                       15 connection with the section 341(a) meeting of creditors. Sulmeyer's fees charged for these

                                                                       16 services are $3,812.50. Sulmeyer's blended hourly rate for these services is $625.00 (before the

                                                                       17 20% discount on rates).

                                                                       18           Under this category of services, Sulmeyer appeared at the section 341(a) examination of

                                                                       19 the Debtor shortly after its selection as counsel to the Committee. Sulmeyer followed up with the

                                                                       20 Debtor thereafter for certain information discussed at the hearing.

                                                                       21                                                   V.

                                                                       22                                       EXPENSES INCURRED

                                                                       23           A summary of all expenses incurred in connection with Applicant's representation of the

                                                                       24 Committee during the period covered by this fee application is included in Exhibit 5 attached

                                                                       25 hereto. These expenses total $81.40. Applicant's request for reimbursement of expenses herein

                                                                       26 includes costs advanced for reproduction and other out-of-pocket costs and expenses incurred on

                                                                       27 behalf of the Committee. Applicant has made every effort to limit the expenditure of expenses

                                                                       28


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                                                                        1 and to use the most economical means available for accomplishing the tasks requiring expenditure

                                                                        2 of costs.

                                                                        3           Applicant did not charge for incoming or outgoing facsimile transmissions. Photocopies

                                                                        4 are generally handled in-house, and are charged $0.20 per page as reflected in the detailed billing

                                                                        5 statements attached hereto. The number of photocopies are recorded automatically when the

                                                                        6 person making the copies enters the appropriate billing code into a device attached to Applicant's

                                                                        7 copy machines.

                                                                        8                                                   VI.

                                                                        9                            DESCRIPTION OF ATTACHED EXHIBITS
                                                                       10           Attached hereto as Exhibit 1 is a resume of Applicant and its members and associates.
  A Professional Corporation




                                                                       11           Attached hereto as Exhibit 2 is an itemized listing of the services rendered by Applicant,
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 and the hours expended for the period described in this Application, organized in chronological

                                                                       13 order by project category. A billing summary is included on the last page of this exhibit.

                                                                       14           Attached hereto as Exhibit 3 is a summary of fees that lists, under each project category,
SulmeyerKupetz,




                                                                       15 the particular attorney or paralegal who provided the services, his/her billing rate, and the total

                                                                       16 hours expended by him/her.

                                                                       17           Attached hereto as Exhibit 4 is a summary of fees that lists, under each project category,

                                                                       18 the total hours expended, and the total amount billed each month.

                                                                       19           Attached hereto as Exhibit 5 is a summary of all expenses incurred in connection with

                                                                       20 Applicant's representation of the Committee.

                                                                       21                                                   VII.

                                                                       22                                             CONCLUSION

                                                                       23           WHEREFORE, Applicant respectfully requests that the Court enter an order:

                                                                       24           1.      Allowing, on an interim basis, compensation to Applicant in the amount of

                                                                       25 $69,495.20, which represents the total fees incurred in the case after application of a discount of

                                                                       26 20% of the hourly rates of Sulmeyer’s attorneys;

                                                                       27           2.      Allowing, on an interim basis, reimbursement of expenses incurred by Applicant in

                                                                       28 the amount of $81.40; and


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                                                                        1           3.      Authorizing and directing payment to Applicant for all amounts awarded pursuant

                                                                        2 to this Application.

                                                                        3 DATED: April 7, 2020                        Respectfully submitted,

                                                                        4                                             SulmeyerKupetz
                                                                                                                      A Professional Corporation
                                                                        5

                                                                        6

                                                                        7                                             By: /s/Mark S. Horoupian
                                                                                                                          Mark S. Horoupian
                                                                        8                                                 Claire K. Wu
                                                                                                                          Attorneys for Official Committee of Unsecured
                                                                        9                                                 Creditors
                                                                       10
  A Professional Corporation




                                                                       11
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




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SulmeyerKupetz,




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                                                                        1                                  DECLARATION OF MARK S. HOROUPIAN 4

                                                                        2              I, Mark S. Horoupian, declare as follows:

                                                                        3              1.       I am an individual over the age of eighteen, and I am an attorney licensed to

                                                                        4 practice law in the State of California and admitted to practice in the United States District Court

                                                                        5 for the Central District of California. I am a member of SulmeyerKupetz, A Professional

                                                                        6 Corporation (“Applicant”), Bankruptcy Counsel for the Official Committee of Unsecured

                                                                        7 Creditors (the "Committee"). I am the primary attorney responsible for representing the

                                                                        8 Committee in this matter, overseeing the billing, and assuring compliance with the Guidelines of

                                                                        9 the United States Trustee relating to billing.
                                                                       10              2.       I make this declaration in support of the "First Interim Application of
  A Professional Corporation




                                                                       11 SulmeyerKupetz, A Professional Corporation, as Counsel to the Official Committee of Unsecured
                               333 SOUTH GRAND AVENUE, SUITE 3400

                                TEL 213.626.2311 • FAX 213.629.4520
                                  LOS ANGELES, CALIFORNIA 90071




                                                                       12 Creditors, for Allowance and Payment of Fees and Expenses" (the "Fee Application").

                                                                       13              3.       Except as otherwise indicated, all statements made herein are based on my personal

                                                                       14 knowledge or my review of relevant documents. If called to testify as a witness in this matter, I
SulmeyerKupetz,




                                                                       15 could and would competently testify under oath to the truth of the statements set forth herein.

                                                                       16              4.       I believe that the Fee Application accurately reflects the services rendered and

                                                                       17 expenses incurred by Applicant in this case.

                                                                       18              5.       Attached hereto as Exhibit 1 is a resume of Applicant and its members and

                                                                       19 associates.

                                                                       20              6.       Attached hereto as Exhibit 2 is an itemized listing of the services rendered by

                                                                       21 Applicant, and the hours expended for the period described in this Fee Application, organized in

                                                                       22 chronological order by project category. A billing summary is included on the last page of this

                                                                       23 exhibit.

                                                                       24              7.       Attached hereto as Exhibit 3 is a summary of fees that lists, under each project

                                                                       25 category, the particular attorney or paralegal who provided the services, his/her billing rate, and

                                                                       26 the total hours expended by him/her.

                                                                       27
                                                                            4
                                                                                Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the application to which
                                                                       28 this declaration is attached.


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                                                                        1           8.      Attached hereto as Exhibit 4 is a summary of fees that lists, under each project

                                                                        2 category, the total hours expended, and the total amount billed each month.

                                                                        3           9.      Attached hereto as Exhibit 5 is a summary of all expenses incurred in connection

                                                                        4 with Applicant's representation of the Committee.

                                                                        5           10.     I believe that the Fee Application complies with the United States Trustee Guide

                                                                        6 for Professional Compensation except as specifically noted and justified in the Fee Application.

                                                                        7           11.     Neither I, nor any owner of Applicant to the best of my knowledge, have any

                                                                        8 agreement or understanding of any kind or nature to divide, pay over or share any portion of the

                                                                        9 fees to be awarded to Applicant with any other person or attorney, except as among the members
                                                                       10 of Applicant. Applicant has provided legal services to the Committee with an effort to keep all
  A Professional Corporation




                                                                       11 costs to a minimum and believes that its billing rates are reasonable and well within the scope of
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                                                                       12 fees charged by professionals for services of a similar nature.

                                                                       13           I declare under penalty of perjury under the laws of the United States of America that the
                                                                       14 foregoing is true and correct.
SulmeyerKupetz,




                                                                       15           Executed on April 7, 2020, at Huntington Beach, California.
                                                                       16

                                                                       17                                                     /s/Mark S. Horoupian
                                                                                                                              Mark S. Horoupian
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                         EXHIBIT 1
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 With a 65 year legacy, SulmeyerKupetz is one of the premier financial restructuring,
 insolvency, and litigation firms in California, with an emphasis on dispute resolution
 arising out of commercial and business disputes, and complex insolvency and
 bankruptcy matters. Our attorneys represent debtors, creditors, committees,
 landlords, insurance companies, assignees for the benefit of creditors, trustees,
 receivers, municipalities, buyers, sellers, professionals and other parties. The firm’s
 wide ranging practice is demonstrated by the vast experience of our attorneys in
 every aspect and facet of financial restructuring and litigation, both in federal and
 state court, and in out-of-court workouts.

 SulmeyerKupetz attorneys bring a specialized expertise to our clients and to the
 cases we handle, derived collectively from generations of experience in select areas
 of the law. With two attorneys serving as Federal Bankruptcy Trustees and others
 acting as State Court appointed Receivers, the firm has an enviable history of trustee
 and receiver practice and representation in corporate reorganizations and complex
 liquidations. The firm also has a unique background in Chapter 9 municipal
 bankruptcies, having handled landmark cases in that arena for both municipalities
 and claimants.

 Always on the cutting edge, SulmeyerKupetz responded to the need for alternative
 restructuring and liquidation options, and has expanded its non-judicial workout
 practice. In that vein, the firm has become a leading expert in Assignments for the
 Benefit of Creditors and other cost effective means of addressing insolvency related
 problems and achieving goals for our clients outside of the courts. the firm, of
 course, still takes pride in its long standing expertise in traditional Chapter 11
 reorganizations.

 At SulmeyerKupetz, strength is found in the firm's experience and manageable size,
 which enables the firm to react quickly and intelligently to any client need. Finally,
 the firm's long held regional presence enables it to provide unique insight to the
 needs of clients within the state and surrounding areas.

 In sum, the attorneys at SulmeyerKupetz service our clients in all areas of financial
 restructuring, insolvency, business reorganization, federal and state court litigation,
 and bankruptcy and bankruptcy related litigation, including federal and state appeals.
 We welcome the opportunity to show you how our services can benefit your company
 or organization.

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   MEMBERS OF THE FIRM



                                  ALAN G. TIPPIE, Managing Member 1987 to present, born Massillon, Ohio,
                                  October 11, 1953; admitted to bar, 1979, California. Preparatory education,
                                  Kent State University and Ohio State University (B.A., 1976); legal education,
                                  Loyola Law School, Los Angeles (J.D., 1979). Member: St. Thomas More
                                  Law Honor Society; Loyola Law Review, 1978-1979. Adjunct Professor,
                                  Loyola Law School, Los Angeles, 1987. Law Clerk to the Honorable Barry
                                  Russell, United States Bankruptcy Court, 1979-1980. Member: State Bar of
                                  California; Financial Lawyers' Conference; Los Angeles County Bar
                                  Association (Commercial Law and Bankruptcy Section).




                                  VICTOR A. SAHN, born New York City, New York, June 27, 1954; admitted to
                                  bar, 1980, California. Preparatory education, Syracuse University (B.A., cum
                                  laude, 1976); legal education, University of San Diego School of Law (J.D.,
                                  1979). Legal Intern to the Honorable Herbert Katz, United States Bankruptcy
                                  Court, 1978-1979; Law Clerk to the Honorable Peter M. Elliott, United States
                                  Bankruptcy Court, 1979-1981. Member: State Bar of California; Financial
                                  Lawyers' Conference; Los Angeles County Bar Association (Bankruptcy
                                  Subcommittee).




                                  HOWARD M. EHRENBERG, born New York, New York, February 19, 1961;
                                  admitted to bar, 1986, California. Preparatory education, University of
                                  California at Berkeley (B.A., 1983); legal education, University of Southern
                                  California School of Law (J.D., 1986). Fraternity: Phi Alpha Delta. Member:
                                  Panel of Bankruptcy Trustees of the United States Trustee's Office for the
                                  Central District of California. State Court Receiver. Member: American Bar
                                  Association, State Bar of California; Financial Lawyers' Conference; Los
                                  Angeles Bankruptcy Forum. Certified as a Business Bankruptcy Law
                                  Specialist by the American Bankruptcy Board of Certification, 1993.




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                                 DAVID S. KUPETZ, born Los Angeles, California, January 17, 1961; admitted
                                 to bar, 1986, California. Preparatory education, University of California at
                                 Santa Barbara (B.S., 1983); legal education, University of California, Hastings
                                 College of the Law (J.D., 1986). Member: State Bar of California; Financial
                                 Lawyers' Conference; Los Angeles Bankruptcy Forum. Participant,
                                 COMM/ENT, Hastings Journal of Communications and Entertainment Law,
                                 1984-1985. Note Editor, COMM/ENT, Hastings Journal of Communications
                                 and Entertainment Law, 1985-1986. Author: Collier Handbook for Creditors'
                                 Committees (LexisNexis). For a list of articles authored by Mr. Kupetz, please
                                 see attachment.




                                 MARK S. HOROUPIAN, born Winnipeg, Manitoba, Canada, December 11,
                                 1969; admitted to bar, 1994, California. Preparatory education, University of
                                 California at Santa Barbara (B.A., 1991); legal education, Loyola Law School,
                                 Los Angeles (J.D., 1994). Member: Loyola Law Review, 1992-1993.
                                 Member: State Bar of California; Los Angeles County Bar Association.




                                 DANIEL A. LEV, born Los Angeles, California, April 24, 1961; admitted to the
                                 bar 1986, California. Preparatory education: University of California, Los
                                 Angeles (B.A., 1983). Legal education: Loyola Law School, Los Angeles
                                 (J.D., 1986). Recipient, American Jurisprudence Award in Bankruptcy,
                                 Benno M. Brink Memorial Award in Bankruptcy, American Jurisprudence
                                 Award in Remedies. Law Clerk to the Honorable Geraldine Mund, United
                                 States Bankruptcy Judge (1986-1988). Member: State Bar of California;
                                 Financial Lawyers’ Conference; Los Angeles Bankruptcy Forum.




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                                 ELISSA D. MILLER, has more than three decades of experience representing
                                 creditors, creditors’ committees and trustees in bankruptcy cases. With an
                                 emphasis on creditors’ rights, and business and commercial litigation in all
                                 state and federal courts, Ms. Miller is a go-to lawyer for cases involving high
                                 net worth individuals, and a variety of middle-market businesses. She also
                                 serves as a respected member of the Chapter 7 Panel of Bankruptcy Trustees
                                 maintained by the Office of the United States Trustee in the Central District of
                                 California. She has also been appointed as the Chapter 11 trustee in various
                                 cases. Outside of the courtroom, Ms. Miller is very involved in the legal and
                                 philanthropic communities, currently serving on the Board of Directors of Valley
                                 Community Healthcare, the Executive Committee of the Business Law Section
                                 of the California Lawyers Association and the Southern California Chapter of
                                 Credit Abuse and Resistance Education. Ms. Miller graduated from the
                                 University of California, Los Angeles with a B.A. in Anthropology and earned
                                 her J.D. with honors from Southwestern Law School.




                                 JEFFREY M. POMERANCE, born Milwaukee, Wisconsin, March 23, 1961;
                                 admitted to the bar, 1987, Illinois; 1992, California. Preparatory education,
                                 University of Wisconsin at Madison (B.B.A. in Accounting, with highest
                                 distinction, 1983); University of California at Los Angeles, The Anderson
                                 Graduate School of Management (Directors Training Program, 2000); legal
                                 education, University of Michigan School of Law (J.D., 1987). Contributing
                                 Editor of University of Michigan Journal of Law Reform, 1986-87; Instructor of
                                 Writing and Advocacy Program, University of Michigan School of Law, 1986-
                                 87. Successfully completed Certified Public Accountancy Examination –
                                 November, 1984.




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     SENIOR COUNSEL

                                 ASA S. HAMI, born Los Angeles, California, May 23, 1974; admitted to bar,
                                 2000, California. Preparatory education, University of California, Los Angeles
                                 (B.A., 1995); legal education, Southwestern University School of Law (J.D.,
                                 magna cum laude, 2000). Legal Extern to the Honorable Kathleen P. March,
                                 United States Bankruptcy Court, 1998. Member: State Bar of California;
                                 Financial Lawyers' Conference.




                                 STEVEN F. WERTH, born McMinnville, Oregon, May 8, 1974; admitted to the
                                 bar, 1999, California. Preparatory education, Pomona College (B.A. 1996).
                                 Legal education, University of Southern California Law School (J.D. 1999).




                                 CATHY TA, born Los Angeles, California, July 26, 1981; admitted to the bar,
                                 2008, California. Preparatory education, Swarthmore College (B.A. 2003).
                                  Legal education, Loyola Law School, Los Angeles (J.D. 2008). Distinctions:
                                 Dean’s Scholar, 2005-2008; Research Assistant to Professor Theodore P.
                                 Seto, 2006. Law Clerk to the Honorable Marvin Isgur, United States
                                 Bankruptcy Judge for the Southern District of Texas, 2008-2010. Alternate
                                 Lawyer Representative, Ninth Circuit Judicial Conference; President, Inland
                                 Empire Bankruptcy Forum; Co-Chair, International Women’s Insolvency &
                                 Restructuring Confederation; Conference Program Book Co-Chair, California
                                 Bankruptcy Forum; MCLE Co-Chair and Director at Large, Asian Pacific
                                 American Bar Association of Los Angeles; Immediate Past President, Asian
                                 Pacific American Lawyers of the Inland Empire. Member: State Bar of
                                 California; Insolvency Law Committee of the California Lawyers Association,
                                 Los Angeles Bankruptcy Forum.




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 ASSOCIATES OF THE FIRM

                                           CLAIRE K. WU, born Los Angeles, California, August 12, 1988;
                                           admitted to bar, 2014, California. Preparatory education, University
                                           of California, Los Angeles (B.A. 2009); legal education, Loyola Law
                                           School, Los Angeles (J.D., 2013). Law Clerk to the Honorable Robert
                                           N. Kwan, United States Bankruptcy Judge (2013-2014). Member:
                                           State Bar of California; International Women's Insolvency &
                                           Restructuring Confederation, Southern California Network; California
                                           Bankruptcy Forum.




 PARALEGAL                                 CHERYL BLAIR. has worked as a Bankruptcy Trustee Administrator
                                           since 1998. Prior to that, Ms. Blair worked for seven years as a
                                           paralegal specialist at the Office of the United States Trustee in Los
                                           Angeles. Ms. Blair formerly served as President of the Trustee
                                           Administrator's Group (TAG).




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   EMERITUS PARTNER
                                 IRVING SULMEYER, 1927-2009. Irving Sulmeyer specialized in reorganization,
                                 insolvency, bankruptcy and creditors' rights matters. He served as counsel for
                                 debtors, secured and unsecured creditors, creditors' committees, receivers and
                                 trustees.
                                 In addition, Mr. Sulmeyer acted as a receiver or trustee in cases under the former
                                 Bankruptcy Act and present Bankruptcy Code, as a federal equity receiver and as a
                                 receiver for the California Superior Courts.
                                 Mr. Sulmeyer was an author of Collier Handbook for Creditors' Committees, co author
                                 of Collier Handbook for Trustees and Debtors in Possession and was a contributing
                                 editor to Collier Bankruptcy Guide. He was an adjunct professor of law at Pepperdine
                                 Law School in Malibu, California and a frequent lecturer for California Continuing
                                 Education of the Bar, Practicing Law Institute and the Commercial Law League of
                                 America. His professional memberships included the American Bar Association. He
                                 was a Fellow of the American College of Bankruptcy. Mr. Sulmeyer was listed in The
                                 Best Lawyers in America.
                                 Mr. Sulmeyer held a B.S. from the California Institute of Technology and a J.D. from
                                 Stanford University, where he was a member of the Stanford Law Review and the Phi
                                 Alpha Delta law fraternity. His academic awards included the Crother Scholarship and
                                 the Order of the Coif.

                                 ARNOLD L. KUPETZ, born Denver, Colorado, June 30, 1933; admitted to
                                 bar, 1956, Colorado; 1960, California. Also admitted to practice before United
                                 States District Court, Central and Southern Districts of California, and District
                                 of Colorado and Ninth Circuit Court of Appeals. Preparatory education,
                                 University of Colorado and University of Denver (B.S., 1955); legal education,
                                 University of Denver (J.D., 1956); Clerk for O. Otto Moore, Justice of Colorado
                                 Supreme Court, 1955; Member: Los Angeles County Bar Association; State
                                 Bar of California; [Judge Advocate General Corps, U.S.A.F., 1956-1959].
                                 Member: for many years of the Panel of Trustees of the United States
                                 Trustee's Office for the Central District of California. Member: “Approved/-
                                 Qualified Receivers List” for the Los Angeles Superior Court..




                                 RICHARD G. BAUMANN, born Chicago, Illinois, April 7, 1938; admitted to bar, 1964,
                                 Wisconsin; 1970, California. Also admitted to practice before United States Supreme
                                 Court. Preparatory education, University of Wisconsin (B.S., cum laude, 1960); legal
                                 education, University of Wisconsin (J.D., 1964). Fraternity: Phi Delta Phi. Judge Pro
                                 Tem, Los Angeles Superior Court (1980 - ). Western Region Members Association
                                 (Chairman 1982-1983); Commercial Law League of America (President 1990-1991.
                                 Member: Board of Governors 1986-1990); Board of Directors, Academy of
                                 Commercial and Bankruptcy Law Specialists; Board of Directors, National Institute on
                                 Credit Management; Associate Editor: Commercial Law World Magazine. Member:
                                 State Bar of California; State Bar of Wisconsin; Commercial Law League of America;
                                 National Conference of Bar Presidents; Fellow of the Commercial Law Foundation;
                                 Certified as a Creditors' Rights Specialist by the American Board of Certification.

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         "New Way to Exit Chapter 11 Bankruptcy Cases on the Rise," Los Angeles Daily
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                                       A PR O F ES S IO N A L C O R PO RA T I O N
                                                 ATTORNEYS AT LAW SINCE 1952
                                                      TAX ID # XX-XXXXXXX




 Unsecured Creditors Committee of Meade Instruments                                                   Invoice 2423734
 c/o Hamid Raftajoo, Chairperson                                                                          April 6, 2020
 Raines Feldman
 18401 Von Karman Ave, 360
 Irvine, CA 92612


 Re: Meade Instruments Corp - OCC
 ID: 11306-0001 - MSH

 For Services Rendered Through March 31, 2020



                                                           Fees
 Date     Atty      Description                                                               Hours         Amount
Asset Disposition
 01/17/20 MSH       Call with E. Reubel of Dundlin Advisors regarding interest in assets       0.20          125.00
 01/20/20 MSH       Call with Masse regarding investment banking and information               0.80          500.00
                    regarding Meade and issues regarding supply chain, financials, etc.
 01/20/20 MSH       Review Peter's request for information, reply and request that             0.20          125.00
                    Broadway provide
 01/23/20 MSH       Receive and respond to emails from Peter Moreo regarding document          1.50          937.50
                    request (.2); call with H. Rafatjoo regarding NDA issue for Orion (.2);
                    call with H. Rafatjoo and A. Masse regarding document request (.4);
                    call with R. Goe regarding doc request from Orion and status of
                    Masse doc review (.2); revise Non-Disclosure Agreement for Orion
                    and circulate (.5)
 01/24/20 MSH       Review Leticia's Lujan's email with financial data compiled in             0.70          437.50
                    meetings with Victor
 01/27/20 MSH       Two calls with Hamid regarding NDA and emails to Rob, Peter, and           0.30          187.50
                    Hamid regarding same
 01/28/20 MSH       Review L. Lujan's email regarding document request response for            0.70          437.50
                    Orion and call with L. Lujan re same.; call with A. Masse regarding
                    same
 01/28/20 MSH       Call with Masse regarding NDA and documents for Peter Moreo                0.30          187.50
 02/03/20 MSH       Review and respond to email from Mr. Goe re expression of interest         0.10            62.50
                    by potential buyer
 02/11/20 MSH       Call with Masse regarding status of sale value estimate and issues re      1.00          625.00
                    Meade
 02/12/20 MSH       Call with Masse regarding financial questions needed; conference in        0.60          375.00
                    Dimple to relate questions
 02/12/20 MSH       Call with Leticia Lujan regarding financial questions                      0.20          125.00
 02/12/20 MSH       Emails with P. Moreo regarding financial information requests              0.30          187.50



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Unsecured Creditors Committee of Meade Instruments                                                      April 6, 2020
Re: Meade Instruments Corp - OCC                                                                    Invoice 2423734
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Date     Atty      Description                                                              Hours           Amount
02/13/20 MSH       Call with Leticia Lujan and Alfred Masse regarding call with              0.50            312.50
                   Committee and issues regarding sale value
02/14/20 MSH       Call with H. Rafajoo regarding potential acquisition and other issues     0.30            187.50
02/18/20 MSH       Review Phase 1 Report draft from Broadway; calls with A. Masse and        1.00            625.00
                   Leticia Lujan re report1
02/19/20 MSH       Call Masse regarding Phase I report (.5); call with Peter Moreo           0.80            500.00
                   regarding Phase I report (.3')
02/20/20 MSH       Call with Broadway, Committee, Debtor re: Phase 1 report (.8); call       1.00            625.00
                   with Rafatjoo re Phase 1 report (.2)
02/25/20 MSH       Call with Al Masse regarding information for Phase 1 report and           0.80            500.00
                   status of committee discussions regarding same (.5); calls with
                   Hamid Rafatjoo regarding Meade Plan and proposal (.3); meeting with
                   Rob Goe and Hamid Regarding supply agreement, and later joined by
                   Matt Borden by phone (1.4)
02/26/20 CKW       Review email from M. Horoupian, re debtor responses to questions,         0.20        No Charge
                   and time to discuss revised sale price estimate and other issues (.1);
                   Review committee member responses, re same, and time for
                   conference call (.1)
02/28/20 MSH       Call with Masse regarding Phase 2 issues regarding engagement             0.40            250.00
02/28/20 MSH       Call with Peter Moreo regarding his email requesting additional time      0.40            250.00
                   and information re assets
02/28/20 CKW       Conference call with M. Horoupian and committee members, re               0.90            427.50
                   Broadway Advisors sale estimate, moving to phase 2, status of trade
                   supply agreement, etc.
02/28/20 CKW       Review email from M. Horoupian to A. Masse and R. Goe, re                 0.10        No Charge
                   committee recommendation re Broadway Advisors and moving to
                   phase 2
02/28/20 MSH       Email to Masse, Leti, etc. regarding moving to phase 2                    0.20            125.00
03/05/20 MSH       Calls with Rafatjoo and Masse regarding sale process; emails with         0.60            375.00
                   Committee members re same
03/09/20 MSH       Call with Goe re update on various issues and sale process (.2); calls    1.10            687.50
                   with H. Rafatjoo regarding sale update (.2); call with Masse re Meade
                   update re sale process and information for Peter Moreio (.4); emails
                   regarding update and sales process (.3)
03/10/20 MSH       Review email from Broadway Advisors regarding due diligence               0.40            250.00
                   materials; review materials and forward to Peter Moreo
03/16/20 MSH       Call with Masse regarding updates on sale process, discussions with       0.60            375.00
                   Meade, Orion, et al.
03/20/20 CKW       Participate in conference call with M. Horoupian, A. Masse, R. Goe,       1.40            665.00
                   and committee members, re status of offers, supply chain agreement,
                   inquiry re cost reductions report from debtor, and other issues
03/25/20 MSH       Conference call with Debtor, Rob Goe, Al Masse regarding Mexico           0.90            562.50
                   lease situation, sale issues, etc.
03/26/20 CKW       Review email from L. Lujan, attaching interested party update and         0.20             95.00



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 Unsecured Creditors Committee of Meade Instruments                                                            April 6, 2020
 Re: Meade Instruments Corp - OCC                                                                          Invoice 2423734
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 Date     Atty        Description                                                                  Hours           Amount
                      memo from Broadway Advisors, and review same
                                                               Total for AD - Asset Disposition    18.70        11,125.00
Business Operations
 01/23/20 MSH         Call with Goe regarding supply issues                                         0.20            125.00
 01/24/20 MSH         Call with H. Rafatjoo regarding supply issues and review email that he        0.30            187.50
                      sent to R. Goe regarding same
 01/30/20 CKW         Review/analyze debtor's motion for authority to post collateral for           0.60            285.00
                      increased bond, and application for order shortening time (.5);
                      Telephone call to M. Horoupian, re same (.1)
 01/30/20 CKW         Review and respond to email from H. Rafatjoo, attaching copy of               0.10             47.50
                      debtor's motion for authority to post collateral for increased bond, and
                      related OST application
 01/30/20 CKW         Draft email to committee, attaching debtor's motion for authority to          0.50            237.50
                      post collateral for increased bond, and recommendation, re same
 01/31/20 CKW         Review court's order shortening time re motion to post collateral, and        0.10             47.50
                      forward same to M. Horoupian, with comments
 02/03/20 CKW         Draft email to M. Horoupian, re committee response to debtor motion           0.20             95.00
                      to post collateral (.1); Review responsive email from M. Horoupian, re
                      same, and separate email attaching notice of hearing (.1)
 02/03/20 CKW         Review emails from P. Moreo and M. Dzurny, with responses to                  0.20             95.00
                      debtor's motion to post collateral (.1); Draft responsive email to
                      committee, re same (.1)
 02/03/20 CKW         Review emails between M. Horoupian and R. Goe, re language to be              0.20             95.00
                      included in order on motion to post collateral (.1); Telephone call with
                      M. Horoupian, re same (.1)
 02/03/20 CKW         Review email from T. Seymour, re response to debtor's motion to post          0.20             95.00
                      collateral (.1); Review email from M. Goodman, re same (.1)
 02/03/20 MSH         Review motion to set customs bond on shortened time; compile and              0.50            312.50
                      send email comments to Mr. Goe
 02/04/20 CKW         Check Court's tentative ruling re debtor's motion to post collateral (.1);    0.50            237.50
                      Draft email to M. Horoupian, attaching same (.1); Prepare for hearing
                      (.3)
 02/04/20 MSH         Review order regarding bond motion and respond                                0.20            125.00
 02/05/20 CKW         Participate in CourtCall for hearing on debtor's motion to post               0.40            190.00
                      collateral (.3); Draft email to M. Horoupian, with results of hearing (.1)
 02/05/20 CKW         Review order granting debtor's motion to post collateral (.1); Forward        0.20             95.00
                      same to M. Horoupian (.1)
 02/14/20 MSH         Call with M. Borden regarding supply agreement                                0.50            312.50
 02/14/20 MSH         Email to Matt Borden regarding revisions to Supply Agreement and              0.30            187.50
                      suggest default language
 02/18/20 MSH         Call and emails regarding Supply Agreement draft and status                   0.30            187.50
 02/21/20 MSH         Review motion re Injunction in State Court case (.5); call with Matt          1.30            812.50
                      Borden re motion and supply agreement (.4); call with Rob Goe re


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 Unsecured Creditors Committee of Meade Instruments                                                          April 6, 2020
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 BK Main Case #:

 Date     Atty        Description                                                                Hours           Amount
                      above (.4)
 02/25/20 MSH         Call with Al Masse regarding information for Phase 1 report and             1.40            875.00
                      status of committee discussions regarding same (.5); calls with
                      Hamid Rafatjoo regarding Meade Plan and proposal (.3); meeting with
                      Rob Goe and Hamid Regarding supply agreement, and later joined by
                      Matt Borden by phone (1.4)
 03/31/20 MSH         Review and markup of Supply Agreement                                       0.60            375.00
                                                           Total for BO - Business Operations     8.80          5,020.00
Case Administration
 01/08/20 CKW         Review emails from M. Horoupian, re committee case and                      0.90            427.50
                      background (.1); Review petition, first day motions, omnibus
                      declaration, and schedules, re same (.8)
 01/08/20 CKW         Telephone call with M. Horoupian, re case background, strategy for          0.30            142.50
                      next steps, and preparation of certain documents/pleadings
 01/08/20 CKW         Prepare summary of upcoming dates and deadlines in case, including          0.70            332.50
                      section 341a meeting, objection deadlines, etc. (.6); Draft email to M.
                      Horoupian, with information re same (.1)
 01/08/20 CKW         Review emails from committee members, with questions for 341a               0.30        No Charge
                      meeting, and M. Horoupian responses re same
 01/08/20 CKW         Prepare draft of bylaws for committee of unsecured creditors, and           0.70            332.50
                      send draft to M. Horoupian
 01/08/20 MSH         Email to Committee regarding retention (.1); meeting with C. Wu             2.10          1,312.50
                      regarding tasks and retention (.3); call with Hamid regarding issue
                      with his client's email (.4); call with R. Goe regarding retention and
                      issues in case (.5); review files re 341(a) meeting (.6); follow up call
                      with R. Goe regarding various issues (.2)
 01/08/20 MSH         Review stipulations regarding insider compensation deadline and             0.20            125.00
                      email to r. goe regarding same
 01/09/20 CKW         Review emails between M. Horoupian and committee members, re                0.10             47.50
                      their updated contact list
 01/09/20 MSH         Call with Peter Moreo regarding Meade matter                                0.50            312.50
 01/09/20 MSH         Review 7-day package and emails to Mr. Goe and Mr. Johnston                 0.80            500.00
                      regarding same
 01/10/20 MSH         Draft email and agenda to committee                                         0.40            250.00
 01/10/20 CKW         Review emails from Q. Yu, employee, re status of debtor's chapter 11        0.20             95.00
                      case, and forward same to M. Horoupian
 01/10/20 CKW         Review emails from committee members, re updated or corrections to          0.10             47.50
                      their contact information
 01/13/20 MSH         Revise committee by-laws and circulate                                      0.80            500.00
 01/13/20 CKW         Conference call with M. Horoupian and committee members, re                 1.70            807.50
                      governance and by-laws, 341a meeting, insider compensation, etc.
                      (1.4); Prepare notes/summary, and forward to M. Horoupian (.3)
 01/13/20 MSH         Committee conference call to discuss various agenda items; follow up        1.40            875.00



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Date     Atty      Description                                                             Hours           Amount
                   email to R. Goe
01/13/20 MSH       Call with F. Schmid regarding Cornerstone resignation; call with F.      0.30            187.50
                   Cadigan re cornerstone resignation
01/13/20 CKW       Update contacts list for creditors' committee                            0.10             47.50
01/14/20 CKW       Review emails from M. Horoupian and committee members re                 0.10             47.50
                   revisions to by-laws and update re proposed investment banker
01/14/20 MSH       Revise by-laws and send around to Committee for execution                0.20            125.00
01/17/20 MSH       Prepare and send NDA                                                     0.70            437.50
01/21/20 CKW       Review MOR for December 2019, and forward same to M. Horoupian,          0.20             95.00
                   with comments
01/21/20 MSH       Review monthly operating report                                          0.20            125.00
01/21/20 MSH       Review of email regarding bond premium/insurance regarding tariffs       0.10             62.50
01/22/20 CKW       Review updated joint chapter 11 status conference report, and forward    0.20             95.00
                   same to M. Horoupian, with comments
01/23/20 MSH       Two calls with H. Rafatjoo regarding retention of Broadway and           0.50            312.50
                   interest of client in purchasing assets, SMRH issues, and supply
                   issues.
01/27/20 CKW       Telephone call with M. Horoupian, re review of draft memo, and           0.30            142.50
                   strategy re next steps (.2); Review email from M. Horoupian, and
                   attached jury verdict in Optronics v. Ningbo case (.1)
01/28/20 CKW       Review emails from M. Horoupian, re updated contact for committee        0.10        No Charge
                   member Seymour Totality, and re status of execution of by-laws
01/29/20 MSH       Attendance at Chapter 11 Status conference regarding Meade               2.00          1,250.00
02/04/20 MSH       Call with Mr. Borden regarding various case issues, supply               0.90            562.50
                   agreement, relief from stay, etc.
02/11/20 MSH       Emails with Committee regarding case strategy and management             0.50            312.50
                   issues
02/12/20 MSH       Review/respond to email from M. Goodman regarding weekly                 0.20            125.00
                   informational request, and suggest weekly round up call.
02/12/20 MSH       Review January MOR and forward to Committee                              0.30            187.50
02/21/20 MSH       Review and respond to email from M. Goodman re UCC Assignment            0.30            187.50
                   (.2); email to H. Rafatjoo re possible meeting (.1)
02/24/20 CKW       Review debtor's amended Schedule G, and forward same to M.               0.10             47.50
                   Horoupian
02/26/20 CKW       Review/analyze amendment to list of creditors filed by debtor            0.10             47.50
02/28/20 MSH       Conference Call with Committee regarding next steps in case              0.90            562.50
03/04/20 CKW       Review/analyze Motion re Lease and Motion re Exclusivity, and draft      2.00            950.00
                   lengthy email to M. Horoupian, with summary
03/05/20 CKW       Review Court's order on OST Application, and draft email to M.           0.10             47.50
                   Horoupian, with response deadline and hearing date on debtor's
                   motion to obtain insurance coverage
03/09/20 MSH       Call with M. Borden regarding transcript of recent hearings and          0.60            375.00
                   update


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 Unsecured Creditors Committee of Meade Instruments                                                       April 6, 2020
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 Date     Atty      Description                                                               Hours           Amount
 03/10/20 MSH       Review Meade status report and forward to committee with cover email       0.50            312.50
 03/15/20 CKW       Briefly review February 2020 MOR, and forward same to M. Horoupian         0.20             95.00
 03/17/20 MSH       Conference call with Masse, Goe regarding progress on sale and             1.10            687.50
                    issues
 03/19/20 MSH       Call with Hamid Rafatjoo regarding claims against SMRH                     0.20            125.00
 03/20/20 MSH       Conference calls regarding Motion for relief from Stay (.5); conference    3.30          2,062.50
                    call with Committee and Debtor and Broadway regarding sale process
                    and forward steps (1.2); follow up call with Mr. Goe regarding various
                    matters including Sheppard Mullin (.5); Call with Matt and Hamid
                    regarding MFRS and supply agreement (1.1)
 03/20/20 CKW       Draft email to M. Horoupian, with detailed summary of call between         1.00            475.00
                    Broadway Advisors, Debtor's counsel, and Committee, including
                    status update from Brodway on sale process, next steps re supply
                    agreement, and other matters in case
 03/23/20 MSH       Emails regarding Sunny Optics security interest in assets                  0.20            125.00
 03/25/20 MSH       Court call appearance regarding status conference; motion to extend        0.70            437.50
                    exclusivity; motion to extend deadline to assume or reject lease
 03/25/20 MSH       Review and approve form of orders regarding exclusivity and lease          0.20            125.00
                    motions
 03/27/20 CKW       Participate in conference call with M. Horoupian, A. Masse, R. Goe,        0.60            285.00
                    and committee members, re status of supply chain agreement, cost
                    reductions report from debtor, and other issues
 03/27/20 CKW       Draft email to M. Horoupian, with detailed summary of call between         0.40            190.00
                    Broadway Advisors, Debtor's counsel, and Committee, including
                    status updates re supply agreement, cost reduction, Mexico lease,
                    and other matters in case
 03/27/20 MSH       Conference call with Committee; Broadway and Debtor regarding              1.10            687.50
                    update and pending issues; follow up calls with Hamid Rafatjoo and
                    L. Lujan
                                                         Total for CA - Case Administration   31.70        18,047.50
Claims Admin. & Objections
 01/08/20 CKW       Review motion for order setting bar date for filing proofs of claim and    0.30            142.50
                    review Local Rules for deadline to object (.2); Draft email to M.
                    Horoupian, re preserving ability to file objection, and contacting
                    chambers re same (.1)
 01/08/20 MSH       Emails with O. Katz regarding SMRH issues                                  0.20            125.00
 01/09/20 MSH       Call with Mr. Katz regarding Shepard Mullin issues (.7); email             0.90            562.50
                    regarding documents needed (.2)
 01/09/20 CKW       Review emails between M. Horoupian and R. Goe, re bar date motion          0.20             95.00
                    and timing of lodging order on same (.1); Telephone call to Judge
                    Bauer's Courtroom Deputy re same (.1)
 01/17/20 MSH       Draft memo regarding Shepard Mulin issues                                  1.00            625.00
 01/20/20 MSH       Review Sheppard Mulin response to request for information                  0.20            125.00



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Unsecured Creditors Committee of Meade Instruments                                                     April 6, 2020
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Date     Atty      Description                                                             Hours           Amount
01/22/20 CKW       Draft outline re research questions for SM claim                         0.20             95.00
01/22/20 CKW       Conduct research re preference liability and avoidance of lien in        0.50            237.50
                   connection SM UCC-1
01/22/20 MSH       Finalize memo regarding SMRH issues and meeting with C. Wu re            1.00            625.00
                   same
01/22/20 ASH       Conference with C. Wu re SMRH issues                                     0.20            119.00
01/23/20 MSH       Research regarding SMRH claim issues                                     0.80            500.00
01/23/20 CKW       Conduct research re potential SMRH claim's issues and defenses           2.10            997.50
01/24/20 CKW       Conduct research re potential claims issues and defenses re SMRH,        8.40          3,990.00
                   and draft memo to M. Horoupian, with analysis re same
01/27/20 CKW       Review docket in Optronics v. Ningbo case, and draft email to M.         0.70            332.50
                   Horoupian, with list of pleadings for potential review/analysis
01/27/20 CKW       Review and respond to email from M. Horoupian, with list of Optronic     0.20             95.00
                   v. Ningbo pleadings to be reviewed
01/27/20 CKW       Conduct research re potential Ningbo fraudulent transfer claim issues    1.90            902.50
                   and defenses
01/27/20 MSH       Review research memorandum regarding preference issues and               0.50            312.50
                   claims as it applies to lien of SMRH against Meade
01/27/20 MSH       Review/analysis of various pleadings in District Court case (Orion v.    2.10          1,312.50
                   Ningbo Sunny) in connection with Analysis of work done by SMRH
                   and whether fees are recoverable
01/28/20 CKW       Conduct research re potential Ningbo fraudulent transfer claim issues    4.80          2,280.00
                   and defenses, and draft memo to M. Horoupian, with analysis re
                   same
01/28/20 CKW       Conduct research re potential SM claim issues and defenses               1.50            712.50
01/28/20 MSH       Review memo regarding defenses to fraudulent transfer v. SMRH            0.50            312.50
01/29/20 CKW       Conduct research re potential claim issues and defenses re SMRH,         4.90          2,327.50
                   and draft memo to M. Horoupian, with analysis re same
01/29/20 MSH       Call with Ori Katz regarding information regarding SMRH                  0.60            375.00
01/29/20 MSH       Memo to file regarding conversation with M. Katz re SMRH                 0.20            125.00
01/29/20 MSH       Further legal research regarding preference claims v. SMRH               0.50            312.50
01/31/20 CKW       Review scheduling order after status conference, and forward to M.       0.20             95.00
                   Horoupian, with comments (.1); Review notice of bar date, re same
                   (.1);
01/31/20 CKW       Draft email to committee members, attaching copy of bar date notice,     0.10             47.50
                   and with information re deadline
01/31/20 CKW       Review email from M. Horoupian, re recently filed documents in           0.20        No Charge
                   Optronic v. Ningbo District Court case, to be reviewed (.1); Pull
                   documents from docket, and forward same to M. Horoupian (.1)
01/31/20 MSH       Legal research regarding fraudulent transfer v. Sheppard based on        1.20            750.00
                   clients not sharing in fees
02/13/20 MSH       Email to Ori Katz regarding document and information request for         0.10             62.50
                   analysis of claims



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 Date     Atty      Description                                                                Hours           Amount
 02/20/20 MSH       Review notice of assignment of UCC-1 security interest in IP and            0.30            187.50
                    other assets to Sunny Optics and Email with /M. Goodman regarding
                    same.
 02/20/20 MSH       Review and analyze whether claims need to be asserted by Debtor v.          0.30            187.50
                    Sunny Optics before claims bar date
 02/21/20 MSH       Legal research regarding assignment of malpractice claims to a              1.00            625.00
                    creditors committee for pursuit
 02/26/20 MSH       Research regrding attorney client privilige and joint representation and    1.10            687.50
                    bankruptcy
 03/03/20 MSH       Draft document request; review documents regarding Sheppard Mullin          2.00          1,250.00
                    representation; email letter to Rob Goe regarding meet and confer for
                    production of documents
 03/12/20 MSH       Work on discovery vs. Sheppard Mullin                                       1.00            625.00
 03/19/20 MSH       Research regarding assignability of claims against SMRH, research           2.30          1,437.50
                    privilege issues in relation to discovery requests for SMRH and Debtor
                    and Joint Defense agreement; email to Mr. Goe regarding same
 03/23/20 MSH       Research regarding 3-300 statement and information lacking                  1.10            687.50
                    regarding disclosure and grounds to invalidate lien; review cases after
                    Fletcher v. Jones
 03/23/20 MSH       Memo to file regarding aSMRH lien issues                                    1.10            687.50
 03/24/20 VAS       Research regarding perfection of attorneys' lien in consideration of        1.00            725.00
                    Lyndberg and Watkins' decision by Bankruptcy Appellate Panel and
                    lien asserted in bankruptcy case by Shepherd Mullin
 03/24/20 MSH       Draft 2004 examination motion re Shepard Mullin and send meet and           1.30            812.50
                    confer letter to Orion
 03/27/20 MSH       Call with R. Goe regarding various issues including Request for             0.50            312.50
                    Documents and other pending matters
 03/30/20 CKW       Review and respond to emails from M. Horoupian and C. Caldwell, re          0.10             47.50
                    instructions for service list for Rule 2004 motion
 03/30/20 MSH       Preparation of 2004 motion re Debtor and SMRH, email to Rob Goe             2.20          1,375.00
                    regarding same
 03/30/20 MSH       Initial meet and confer with O. Katz re SMRH document production            0.30            187.50
 03/31/20 MSH       Meet and confer call with Sheppard Mullin (Ori Katz, Charles ?, and         0.90            562.50
                    Leo Caseria)
 03/31/20 MSH       Revisions to 2004 motion re debtor                                          1.00            625.00
 03/31/20 MSH       Revise 2004 request on SMRH based upon meet and confer meeting              0.70            437.50
                    today
                                              Total for CAO - Claims Admin. & Objections       54.40        30,054.00
Executory Contract Leases
 03/10/20 MSH       Draft response to motion to extend time to assume reject lease              1.10            687.50
 03/12/20 MSH       Review emails from R. Goe regarding Mexico lease situation, and             0.50            312.50
                    discuss with Rob Goe



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 Unsecured Creditors Committee of Meade Instruments                                                    April 6, 2020
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 Date     Atty      Description                                                            Hours           Amount
 03/26/20 MSH       Emails regarding lease renewal of the Mexico facility                   0.20            125.00
 03/26/20 MSH       Call with L. Lujan and Broadway regarding Mexico lease situation        0.20            125.00
                                               Total for ECL - Executory Contract Leases    2.00          1,250.00
Fee/Employment Applications
 01/08/20 CKW       Draft application to employ SK as committee counsel                     1.10            522.50
 01/09/20 CKW       Review emails between M. Horoupian and R. Goe, re potential             0.10             47.50
                    investment bankers and their proposed terms
 01/09/20 CKW       Continue drafting application to employ SK as committee counsel         1.70            807.50
                    (1.2); Prepare notice of application, re same (.5)
 01/09/20 MSH       Call with Mr. Buie regarding potential representation as investment     0.30            187.50
                    banker
 01/13/20 MSH       Compile and send summary of I banker proposals to Committee             0.50            312.50
 01/13/20 MSH       Review Goe professional fee statement                                   0.20            125.00
 01/13/20 CKW       Review email from M. Horoupian, with information re investment          0.10             47.50
                    banker proposals
 01/13/20 MSH       Calls with potential investment banker candidates                       1.00            625.00
 01/14/20 MSH       Calls with Masse and Leticia regarding retention as Investment          1.00            625.00
                    Bankers; emails with R. Goe regarding same; and email to Broadway
                    regarding retention
 01/14/20 MSH       Calls with Mr. Goe regarding retention of I Banker and open issues      0.30            187.50
 01/15/20 MSH       Emails with R. Goe and A. Masse regarding retention of Broadway         0.20            125.00
                    and addressing interest in acquisition inquiries
 01/16/20 MSH       Conference call with A. Masse regarding retention terms and             1.00            625.00
                    retention agreement revisions; email to R. Goe regarding same.
 01/17/20 MSH       Emails regarding Broadway Engagement Agreement                          0.20            125.00
 01/17/20 MSH       Review accounting and engagement agreement with Meade/Sunny             0.50            312.50
                    Optics
 01/17/20 MSH       Calls with Paul Buie at Onyx Capital and Alfred Masse at Broadway       0.60            375.00
                    advisors regarding proposals to be retained as investment bankers in
                    case.
 01/18/20 MSH       Email to P. Moreo regarding Broadway retention application              0.10             62.50
 01/20/20 MSH       Revisions to Broadway retention application                             0.50            312.50
 01/22/20 CKW       Review email from M. Horoupian, and attached redlined draft of          0.40            190.00
                    application to employ SK as committee counsel (.2); Telephone call
                    with M. Horoupian, re additional change (.1); Conform changes to
                    notice of application (.1)
 01/22/20 CKW       Attend to matters to ensure timely and proper service and filing of     0.10        No Charge
                    application to employ SK as committee counsel, and related notice
 01/23/20 MSH       Execute Broadway employment application and circulate to group for      0.20            125.00
                    signature
 01/30/20 CKW       Review application to employ special IP counsel, and forward same to    0.20             95.00
                    M. Horoupian, with comments



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 Unsecured Creditors Committee of Meade Instruments                                                          April 6, 2020
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 Date     Atty         Description                                                               Hours           Amount
 02/03/20 CKW          Draft email to committee members, attaching debtor's application to        0.20             95.00
                       employ special IP counsel, and with comments
 02/03/20 CKW          Review email from P. Moreo, with questions and comments re debtor          0.20             95.00
                       application to employ special IP counsel (.1); Draft email to M.
                       Horoupian, with proposed response, re same (.1)
 02/03/20 CKW          Draft order granting application to employ SK as committee counsel         0.40            190.00
 02/03/20 MSH          Emails regarding IP counsel application                                    0.20            125.00
 02/04/20 MSH          Email re IP counsel budget                                                 0.10             62.50
 02/10/20 CKW          Attend to matters to ensure timely and proper filing and service of        0.10        No Charge
                       order on application to employ SK, and declaration re same
 02/10/20 MSH          Review order on employment application                                     0.10             62.50
 02/20/20 MSH          Review and respond w/comments to Draft order approving Bwy                 0.20            125.00
                       Advisors employment order
 02/25/20 CKW          Review Court docket entry re hearing on application to employ              0.20             95.00
                       Broadway advisors, and draft email to M. Horoupian, re same
 02/26/20 CKW          Draft email to M. Horoupian, re notice of hearing and hearing set for      0.10             47.50
                       application to employ Broadway Advisors, and appearances, re same
 03/11/20 MSH          Appearance at hearing regarding Employment of Broadway Advisors            2.00          1,250.00
                       and Motion to Obtain Insurance funding; call with Mr. Goe prior to
                       hearing
 03/11/20 MSH          Appearance at hearing on motion to approve Broadway Advisors               1.40            875.00
                       employment; emails and calls with Broadway after hearing
 03/26/20 CKW          Draft email to M. Horoupiain, re preparation of first interim fee          0.20             95.00
                       application of Committee, and review and respond to email from M.
                       Horoupian, re same
                                                Total for FEA - Fee/Employment Applications      15.70          8,952.50
Meeting of Creditors
 01/08/20 MSH          Review email from Peter with list of questions, and respond in Excel       0.40            250.00
                       chart
 01/09/20 MSH          Preparation for 341(a) examination tomorrow                                2.50          1,562.50
 01/10/20 MSH          Preparation for and attendance at Rule 341(a) examination of Debtor;       2.60          1,625.00
                       call with H. Rafatjoo during break
 02/20/20 MSH          Review files regarding 341(a) follow up and email to Goe et al             0.60            375.00
                       regarding same
                                                          Total for MOC - Meeting of Creditors    6.10          3,812.50
Plan & Disclosure Statement
 02/12/20 MSH          Call with H. Rafatjoo regarding potential plan and issues regarding        0.40            250.00
                       same
 02/12/20 MSH          Outline plan of reorganization ideas                                       0.30            187.50
 02/13/20 MSH          Call with H. Rafatjoo regarding potential plan alternatives to sale        0.20            125.00
 03/06/20 MSH          Draft stipulation regarding exclusivity                                    1.10            687.50



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 03/09/20 MSH       Finalize stipulation regarding exclusivity                                0.30            187.50
 03/10/20 CAB       Conference with Mark Horoupian re stip and order between OCC and          0.20             50.00
                    Debtor re extending exclusivity periods for filing plan
 03/10/20 CAB       Review stip and draft order approving stipulation re extending            0.30             75.00
                    exclusivity periods re plan
 03/11/20 CAB       Finish drafting order re stip to extend exclusivity period re plan        0.30             75.00
 03/11/20 CAB       File Stip and order re OCC and Debtors motion for extending               0.30             75.00
                    exclusivity periods for filing plan
 03/12/20 CAB       Revise and upload new order per court's instructions                      0.30        No Charge
 03/12/20 CAB       Review email from Mark Horoupian re 2nd rejection; Revise order per       0.30        No Charge
                    court's instructions and email revised copy to M. Horoupian for review
                                              Total for PDS - Plan & Disclosure Statement     4.00          1,712.50
Relief From Stay Proceedings
 01/17/20 MSH       Conference call with Mr. Goe, Mr. Rafatjoo, Plaintiff's counsel,          0.80            500.00
                    regarding relief from stay; etc.
 01/20/20 MSH       Call with Rob Goe and Hamid Rafatjoo regarding relief from stay and       0.50            312.50
                    supply issues
 02/04/20 MSH       Call with Rob Goe, Hamid Rafatjoo, and Matt Borden (counsel for           0.50            312.50
                    Orion) regarding relief from stay and supply issues.
 02/05/20 MSH       Revise stipulation regarding relief from stay re Orion Litigation         0.20            125.00
 02/10/20 MSH       Revise stipulation regarding supply agreement and email to                0.70            437.50
                    committee with commentary regarding relief from stay motion
 02/11/20 MSH       Revisions to stipulation for relief from stay                             0.50            312.50
 02/26/20 MSH       Review Orion Motion for Equitable relief                                  0.50            312.50
 03/18/20 MSH       Review motion for relief from stay by Orion and emails to Orion           0.30            187.50
                    Counsel and Committee regarding same
 03/19/20 CKW       Review and respond to emails with M. Horoupian, re RFS motion filed       0.60            285.00
                    by Orion, and call with committee members, re same (.2); Briefly
                    review RFS motion, in preparation for call (.4)
 03/20/20 CKW       Participate in conference call with M. Horoupian and committee            0.50            237.50
                    members, re Orion RFS motion, and next steps
 03/23/20 CKW       Review and respond to emails from M. Horoupian, re preparation of         2.60          1,235.00
                    statement of position regarding Orion RFS motion (.2); Draft
                    statement of position, and draft email to M. Horoupian, attaching
                    same for review (2.4)
 03/23/20 CKW       Review docket of District Court action Orion v. Ningbo Sunny, re          0.20             95.00
                    preparation of Committee statement of position
 03/23/20 MSH       Draft section of statement regarding Orion Motion for relief from stay    1.00            625.00
 03/24/20 CKW       Review email from M. Horoupian, with his redline to the draft             0.50            237.50
                    statement of position re Orion RFS motion (.1); Revise same, and
                    draft email to M. Horoupian, with question re timing of filing (.4)
 03/24/20 CKW       Attend to matters to ensure timely and proper filing and service of       0.20             95.00



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Unsecured Creditors Committee of Meade Instruments                                                            April 6, 2020
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Date      Atty      Description                                                                  Hours            Amount
                    Committee's statement of position re Orion RFS motion
03/24/20 MSH        Revise and finalize statement of committee regarding relief from stay          1.00            625.00
                    by Orion
03/25/20 CKW        Review debtors' opposition to Orion RFS motion, and review and                 0.70            332.50
                    respond to emails with M. Horoupian, re edits to Committee's
                    statement of position in response to same
03/25/20 CKW        Review M. Horoupian edits to Committee's statement of position re              0.40            190.00
                    Orion RFS motion, and revise and finalize same for filing
03/25/20 MSH        Review Debtor's opposition to Motion for relief from stay by Orion;            0.70            437.50
                    revisions to same
                                           Total for RFS - Relief From Stay Proceedings          12.40           6,895.00
                                                                                 Total Fees      153.80          86,869.00


                                                      Fee Recap
                                                                           Hours            Rate/Hour             Amount
Victor A. Sahn                                                               1.00              725.00               725.00
Mark S. Horoupian                                                           97.30              625.00           60,812.50
Asa S. Hami                                                                  0.20              595.00               119.00
Claire K. Wu                                                                 1.10                0.00                 0.00
Claire K. Wu                                                                52.50              475.00           24,937.50
Cheryl A. Blair                                                              0.60                0.00                 0.00
Cheryl A. Blair                                                              1.10              250.00               275.00

                                                            Totals         153.80                                86,869.00




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                         EXHIBIT 3
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                               SulmeyerKupetz
                                     A PR O F ES S IO N A L C O R PO RA T I O N
                                                ATTORNEYS AT LAW SINCE 1952
                                                     TAX ID # XX-XXXXXXX




 Unsecured Creditors Committee of Meade Instruments                                               Invoice 2423734
 c/o Hamid Raftajoo, Chairperson                                                                      April 6, 2020
 Raines Feldman
 18401 Von Karman Ave, 360
 Irvine, CA 92612


 Re: Meade Instruments Corp - OCC
 ID: 11306-0001 - MSH

 For Services Rendered Through March 31, 2020


                                          Task Recap by Timekeeper
                                                                              Hours   Rate/Hour         Amount
Asset Disposition                     Claire K. Wu                             0.30        0.00              0.00
                                      Claire K. Wu                             2.50      475.00         1,187.50
                                      Mark S. Horoupian                       15.90      625.00         9,937.50
                                                Task Code Subtotal:           18.70                    11,125.00
Business Operations                   Claire K. Wu                             3.20      475.00         1,520.00
                                      Mark S. Horoupian                        5.60      625.00         3,500.00
                                                Task Code Subtotal:            8.80                     5,020.00
Case Administration                   Claire K. Wu                             0.40        0.00              0.00
                                      Claire K. Wu                            10.10      475.00         4,797.50
                                      Mark S. Horoupian                       21.20      625.00        13,250.00
                                                Task Code Subtotal:           31.70                    18,047.50
Claims Admin. & Objections            Asa S. Hami                              0.20      595.00           119.00
                                      Claire K. Wu                             0.20        0.00              0.00
                                      Claire K. Wu                            26.10      475.00        12,397.50
                                      Mark S. Horoupian                       26.90      625.00        16,812.50
                                      Victor A. Sahn                           1.00      725.00           725.00
                                                Task Code Subtotal:           54.40                    30,054.00
Executory Contract Leases             Mark S. Horoupian                        2.00      625.00         1,250.00
                                                Task Code Subtotal:            2.00                     1,250.00
Fee/Employment Applications           Claire K. Wu                             0.20        0.00              0.00
                                      Claire K. Wu                             4.90      475.00         2,327.50
                                      Mark S. Horoupian                       10.60      625.00         6,625.00
                                                Task Code Subtotal:           15.70                     8,952.50
Meeting of Creditors                  Mark S. Horoupian                        6.10      625.00         3,812.50
                                                Task Code Subtotal:            6.10                     3,812.50




                                                                                                     0038
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 Unsecured Creditors Committee of Meade Instruments                                       April 6, 2020
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 BK Main Case #:

Plan & Disclosure Statement           Cheryl A. Blair                 0.60     0.00               0.00
                                      Cheryl A. Blair                 1.10   250.00             275.00
                                      Mark S. Horoupian               2.30   625.00           1,437.50
                                              Task Code Subtotal:     4.00                    1,712.50
Relief From Stay Proceedings          Claire K. Wu                    5.70   475.00           2,707.50
                                      Mark S. Horoupian               6.70   625.00           4,187.50
                                              Task Code Subtotal:    12.40                    6,895.00

                                                           Total:   153.80                   86,869.00




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                         EXHIBIT 4
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Unsecured Creditors Committee of Meade Instruments                                     April 6, 2020
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                                      Summary of Fees by BK Category

For Services Rendered Through March 31, 2020                              Hours            Amount
AD Asset Disposition
        01/2020                                                             4.70          2,937.50

        02/2020                                                             8.80          5,177.50
        03/2020                                                             5.20          3,010.00

Total Fees                                                                 18.70         11,125.00

BO Business Operations
        01/2020                                                             1.80            930.00
        02/2020                                                             6.40          3,715.00

        03/2020                                                             0.60            375.00

Total Fees                                                                  8.80          5,020.00

CA Case Administration
        01/2020                                                            16.20          9,035.00
        02/2020                                                             3.30          2,032.50
        03/2020                                                            12.20          6,980.00

Total Fees                                                                 31.70         18,047.50

CAO Claims Admin. & Objections
        01/2020                                                            36.10         18,531.50
        02/2020                                                             2.80          1,750.00
        03/2020                                                            15.50          9,772.50

Total Fees                                                                 54.40         30,054.00

ECL Executory Contract Leases
        03/2020                                                             2.00          1,250.00

Total Fees                                                                  2.00          1,250.00

FEA Fee/Employment Applications
        01/2020                                                            10.30          5,835.00
        02/2020                                                             1.80            897.50
        03/2020                                                             3.60          2,220.00




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Unsecured Creditors Committee of Meade Instruments                                     April 6, 2020
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For Services Rendered Through March 31, 2020                               Hours           Amount

Total Fees                                                                 15.70          8,952.50

MOC Meeting of Creditors
        01/2020                                                             5.50          3,437.50
        02/2020                                                             0.60            375.00

Total Fees                                                                  6.10          3,812.50

PDS Plan & Disclosure Statement
        02/2020                                                             0.90            562.50
        03/2020                                                             3.10          1,150.00

Total Fees                                                                  4.00          1,712.50

RFS Relief From Stay Proceedings
        01/2020                                                             1.30            812.50
        02/2020                                                             2.40          1,500.00
        03/2020                                                             8.70          4,582.50

Total Fees                                                                 12.40          6,895.00

         Grand Total                                                      153.80         86,869.00




                                                                                       0041
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                         EXHIBIT 5
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                               SulmeyerKupetz
                                    A PR O F ES S IO N A L C O R PO RA T I O N
                                               ATTORNEYS AT LAW SINCE 1952
                                                    TAX ID # XX-XXXXXXX




Unsecured Creditors Committee of Meade Instruments                                                      Invoice 2423734
c/o Hamid Raftajoo, Chairperson                                                                             April 6, 2020
Raines Feldman
18401 Von Karman Ave, 360
Irvine, CA 92612


Re: Meade Instruments Corp - OCC
ID: 11306-0001 - MSH

For Services Rendered Through March 31, 2020


                                                Disbursements
Date       Description                                                               Units    Cost Per Unit     Amount
           Reproduction Cost                                                            297          $ .20           59.40
           Attorney Service                                                                                          22.00

                                                                      Total Disbursements                            81.40




                                                                                                              0042
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Unsecured Creditors Committee of Meade Instruments                                   April 6, 2020
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                                              Summary of Costs
Cost      Date                                                                          Amount

For Services Rendered Through 3/31/2020

Attorney Service
          02/2020                                                                           11.00
          03/2020                                                                           11.00

Total Disbursements                                                                         22.00
Reproduction Cost
          01/2020                                                                            3.20
          02/2020                                                                           56.20

Total Disbursements                                                                         59.40

          Grand Total                                                                       81.40




                                                                                      0043
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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 333
South Grand Avenue, Suite 3400, Los Angeles, CA 90071.

A true and correct copy of the foregoing document entitled (specify): FIRST INTERIM APPLICATION OF
SULMEYERKUPETZ, A PROFESSIONAL CORPORATION, AS COUNSEL TO THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS, FOR ALLOWANCE AND PAYMENT OF FEES AND EXPENSES; DECLARATION OF
MARK S. HOROUPIAN IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the
form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) April 7, 2020 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses
stated below:

Matthew Borden on behalf of Creditor Optronic Technologies, Inc. d/b/a Orion Telescopes & Binoculars
borden@braunhagey.com,
rosario@braunhagey.com;kushnir@braunhagey.com;verga@braunhagey.com;hagey@braunhagey.com;fisher@braunhagey.com;t
heodore@braunhagey.com;hasegawa@braunhagey.com;szoke@braunhagey.com;baker@braunhagey.com

Matthew Borden on behalf of Creditor Optronic Technologies, Inc., d/b/a Orion Telescopes & Binoculars
borden@braunhagey.com,
rosario@braunhagey.com;kushnir@braunhagey.com;verga@braunhagey.com;hagey@braunhagey.com;fisher@braunhagey.com;t
heodore@braunhagey.com;hasegawa@braunhagey.com;szoke@braunhagey.com;baker@braunhagey.com

Frank Cadigan on behalf of U.S. Trustee United States Trustee (SA)
frank.cadigan@usdoj.gov

Robert P Goe on behalf of Attorney Goe Forsythe & Hodges LLP
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe on behalf of Attorney Stetina Brunda Garred & Brucker, APC
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe on behalf of Debtor Meade Instruments Corp.
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe on behalf of Debtor Sunny Optics, Inc., a Delaware corporation
kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com

Mark S Horoupian on behalf of Creditor Committee Official Committee of Unsecured Creditors
mhoroupian@sulmeyerlaw.com, dwalker@sulmeyerlaw.com;mhoroupian@ecf.inforuptcy.com

Mark S Horoupian on behalf of Interested Party Courtesy NEF
mhoroupian@sulmeyerlaw.com, dwalker@sulmeyerlaw.com;mhoroupian@ecf.inforuptcy.com

Hamid R Rafatjoo on behalf of Creditor Optronic Technologies, Inc. d/b/a Orion Telescopes & Binoculars
hrafatjoo@raineslaw.com, bclark@raineslaw.com

United States Trustee (SA)
ustpregion16.sa.ecf@usdoj.gov

Claire K Wu on behalf of Creditor Committee Official Committee of Unsecured Creditors
ckwu@sulmeyerlaw.com, mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com

Claire K Wu on behalf of Interested Party Courtesy NEF
ckwu@sulmeyerlaw.com, mviramontes@sulmeyerlaw.com;ckwu@ecf.courtdrive.com;ckwu@ecf.inforuptcy.com

                                                                                    Service information continued on attached page.




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
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2. SERVED BY UNITED STATES MAIL:
On (date) , I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                    Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
(date)                     , I served the following persons and/or entities by personal delivery, overnight mail service,
or (for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                                    Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 April 7, 2020                           Maria R. Viramontes                                   /s/Maria R. Viramontes
 Date                                    Printed Name                                          Signature




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                    F 9013-3.1.PROOF.SERVICE
